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 5
                                    UNITED STATES DISTRICT COURT
 6                                NORTHERN DISTRICT OF CALIFORNIA
 7
 8   RONALD SGARLATA, Individually and on                     Case No.
     Behalf of All Others Similarly Situated,
 9
                                              Plaintiff,      CLASS ACTION COMPLAINT FOR
10                                                            VIOLATION OF THE FEDERAL
11        vs.                                                 SECURITIES LAWS

12    PAYPAL HOLDINGS, INC., DANIEL H.
      SCHULMAN, JOHN D. RAINEY JR., and                       JURY TRIAL DEMANDED
13    HAMED SHAHBAZI,
14
                                           Defendants
15
16          Plaintiff Ronald Sgarlata (“Plaintiff”), individually and on behalf of all other persons similarly
17
     situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants (defined
18
     below), alleges the following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts,
19
     and information and belief as to all other matters, based upon, inter alia, the investigation conducted by
20
21   and through Plaintiff’s attorneys, which included, among other things, a review of the Defendants’

22   public documents, conference calls and announcements made by Defendants, United States Securities
23
     and Exchange Commission (“SEC”) filings, wire and press releases published by and regarding PayPal
24
     Holdings, Inc. (“PayPal” or the “Company”), analysts’ reports and advisories about the Company, and
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     information readily obtainable on the Internet. Plaintiff believes that substantial evidentiary support will
26
27   exist for the allegations set forth herein after a reasonable opportunity for discovery.

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                                           NATURE OF THE ACTION
 1
 2          1.       This is a federal securities class action on behalf of a class consisting of all persons other

 3   than Defendants who purchased or otherwise acquired common shares of PayPal between February 14,
 4   2017 and December 1, 2017, both dates inclusive (the “Class Period”). Plaintiff seeks to recover
 5
     compensable damages caused by Defendants’ violations of the federal securities laws and to pursue
 6
     remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”)
 7
 8   and Rule 10b-5 promulgated thereunder.

 9          2.       PayPal Holdings, Inc. operates as a technology platform company that provides online
10   payment systems through a variety of services on behalf of consumers and merchants. Founded in
11
     1998, the Company is headquartered in San Jose, California. The Company’s common stock trades on
12
     the NASDAQ Global Stock Market (“NASDAQ”) under the ticker symbol “PYPL.”
13
            3.       On February 14, 2017, PayPal announced an agreement to purchase TIO Networks Corp.
14
15   (“TIO”) for $233 million (the “TIO Acquisition”). TIO is a bill-pay management company that

16   processed roughly $7 billion in bill payments on behalf of 14 million customers in 2016. On July 18,
17
     2017, PayPal announced the completion of the TIO Acquisition.
18
            4.       Throughout the Class Period, Defendants made materially false and misleading
19
     statements regarding the Company’s business, operational and compliance policies.               Specifically,
20
21   Defendants made false and/or misleading statements and/or failed to disclose that: (i) TIO’s data

22   security program was inadequate to safeguard the personally identifiable information of its users; (ii)
23
     the foregoing vulnerabilities threatened continued operation of TIO’s platform; (iii) PayPal’s revenues
24
     derived from its TIO services were thus unsustainable; (iv) consequently, PayPal had overstated the
25
     benefits of the TIO acquisition; and (v) as a result, PayPal’s public statements were materially false and
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27   misleading at all relevant times.

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             5.       On November 10, 2017, PayPal suspended its TIO services, pending a security review,
 1
 2   stating that it had discovered security vulnerabilities on the TIO platform and that the TIO data security

 3   program did not meet PayPal’s standards.
 4           6.       On December 1, 2017, post-market, PayPal disclosed that personally identifiable
 5
     information—including names, addresses, bank-account details, and Social Security numbers—for
 6
     roughly 1.6 million TIO users had potentially been compromised as a result of the previously
 7
 8   announced security vulnerabilities.

 9           7.       On this news, PayPal’s share price fell $4.33, or 5.75%, to close at $70.97 on December
10   4, 2017, the following trading day.
11
             8.       As a result of Defendants’ wrongful acts and omissions, and the precipitous decline in
12
     the market value of the Company’s common shares, Plaintiff and other Class members have suffered
13
     significant losses and damages.
14
15                                         JURISDICTION AND VENUE

16           9.       The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the
17
     Exchange Act (15 U.S.C. §§78j(b) and §78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17
18
     C.F.R. §240.10b-5).
19
             10.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §1331
20
21   and §27 of the Exchange Act.

22           11.      Venue is proper in this Judicial District pursuant to §27 of the Exchange Act (15 U.S.C.
23
     §78aa) and 28 U.S.C. §1391(b). PayPal’s principal executive offices are located within this Judicial
24
     District.
25
             12.      In connection with the acts, conduct and other wrongs alleged in this Complaint,
26
27   Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

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     including but not limited to, the United States mail, interstate telephone communications and the
 1
 2   facilities of the national securities exchange.

 3                                                      PARTIES
 4          13.     Plaintiff, as set forth in the accompanying Certification, purchased PayPal securities at
 5
     artificially inflated prices during the Class Period and was damaged upon the revelation of the alleged
 6
     corrective disclosure.
 7
 8          14.     Defendant PayPal is incorporated in Delaware, and the Company’s principal executive

 9   offices are located at 2211 North First Street, San Jose, California 95131. PayPal’s common stock
10   trades on the NASDAQ under the ticker symbol “PYPL.”
11
            15.     Defendant Daniel H. Schulman (“Schulman”) has served at all relevant times as
12
     PayPal’s Chief Executive Officer (“CEO”), President and Director.
13
            16.     Defendant John D. Rainey Jr. has served at all relevant times as PayPal’s Chief Financial
14
15   Officer and Executive Vice President.

16          17.     Defendant Hamed Shahbazi (“Shahbazi”) served as Chairman and CEO of TIO at all
17
     relevant times prior to the TIO Acquisition. Following the TIO Acquisition, Shahbazi has served at all
18
     relevant times as Vice President of Bill Pay and General Manager, PayPal Canada Bill Pay Services. In
19
     that capacity, Shahbazi has continued to direct the operations of PayPal’s TIO services.
20
21          18.     The Defendants referenced above in ¶¶ 15-17 are sometimes referred to herein

22   collectively as the “Individual Defendants.”
23
                                        SUBSTANTIVE ALLEGATIONS
24
                                                       Background
25
            19.     PayPal operates as a technology platform company that provides online payment
26
27   systems through a variety of services on behalf of consumers and merchants. Founded in 1998, the

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     Company is headquartered in San Jose, California. The Company’s common stock trades on the
 1
 2   NASDAQ Global Stock Market (“NASDAQ”) under the ticker symbol “PYPL.”

 3                Materially False and Misleading Statements Issued During the Class Period
 4          20.     The Class Period begins on February 14, 2017, when PayPal issued a press release
 5
     entitled “PayPal to Acquire TIO Networks.” The press release stated, in part:
 6
            SAN JOSE, Calif. & VANCOUVER, British Columbia--(BUSINESS WIRE)--PayPal
 7          Holdings, Inc. (Nasdaq: PYPL) and TIO Networks Corp. (TSXV: TNC), a cloud-based
 8          multi-channel bill payment processing and receivables management company, today
            announced a definitive agreement under which PayPal will acquire TIO for $3.35 CAD
 9          ($2.56 USD) per share in cash or an approximate $304 million CAD ($233 million USD)
            equity value. The purchase price represents a premium of 25.2% to TIO’s 90-trading day
10          volume-weighted average price as of February 13, 2017, and 22.6% to the 20-trading day
11          volume-weighted average price as of January 9, 2017, the trading day immediately
            preceding the date TIO entered into exclusive negotiations with PayPal.
12
            TIO is a leading multi-channel bill payment processor in North America and processed
13          more than $7 billion USD in consumer bill payments in fiscal 2016. TIO serves 14
            million consumer bill pay accounts and offers convenient solutions for expedited bill
14
            payment services to financially underserved consumers. The company has more than
15          10,000 supported billers and numerous direct relationships with billers, which enable TIO
            to quickly process telecom, wireless, cable and utility bill payments for TIO’s customers.
16          Using TIO’s approximately 900 operated self-service kiosks, approximately 65,000 retail
            walk-in locations, and mobile and web solutions, customers can conveniently pay their
17
            bills while avoiding the service interruptions and financial penalties associated with
18          missed payment deadlines.

19          Dan Schulman, President and CEO of PayPal, said, “By acquiring TIO and integrating
            bill payment into our global payments platform, PayPal adds another key service in our
20
            efforts to become a part of a consumer’s everyday financial life. Worldwide, more than 2
21          billion people do not have affordable access to basic financial services, making it difficult
            and expensive for consumers to carry out basic financial tasks, including bill payment.
22          TIO’s digital platform, and physical network of agent locations make paying bills
            simpler, faster, and more affordable. We are excited by the opportunity to extend this
23
            valuable service to our existing customers and welcome new billers and customers to
24          PayPal.”

25          Hamed Shahbazi, Chairman and CEO of TIO, remarked, “We founded TIO to make
            speed and access part of the bill payment experience for the underserved, and we believe
26          that we have created affordable products to serve the needs of all customers. Our mission
27          fits perfectly with PayPal’s vision to democratize money. As part of the PayPal team, we
            believe we will accelerate our growth through expanded distribution and continue
28          increasing access to more billers and services.”
29                                                5

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 1          21.     On April 26, 2017, PayPal issued a press release and filed a current report on Form 8-K
 2
     with the SEC, announcing certain of the Company’s financial and operating results for the quarter
 3
     ended March 31, 2017 (the “Q1 2017 8-K”). For the quarter, PayPal announced net income of $384
 4
 5   million, or $0.32 per diluted share, on revenue of $2.98 billion, compared to net income of $365

 6   million, or $0.30 per diluted share, on revenue of $2.54 billion for the same period in the prior year.
 7          22.     In the Q1 2017 8-K, PayPal stated, in part:
 8
            In the first quarter, PayPal announced its agreement to acquire TIO Networks Corp.
 9          (“TIO”) for approximately $233 million. TIO is a leading multi-channel bill payment
            processor in North America and processed more than $7 billion in bill payments in its
10          fiscal 2016. The company’s digital platform, and physical network of agent locations
11          make paying bills simpler, faster, and more affordable. By integrating bill payment,
            PayPal will add another key service to its global payments platform and become a greater
12          part of its consumers’ everyday financial lives. On April 10, 2017 shareholders of TIO
            approved the acquisition, which is expected to close in the second half of 2017, subject to
13          certain closing conditions.
14
            23.     On April 27, 2017, PayPal filed a quarterly report on Form 10-Q with the SEC, reporting
15
     in full the Company’s financial and operating results for the quarter ended Mach 31, 2017 (the “Q1
16
     2017 10-Q”).
17
18          24.     In the Q1 2017 10-Q, PayPal stated, in part:

19          In February 2017, we announced an agreement to acquire TIO Networks Corp. for
            approximately $233 million in cash. This acquisition is expected to close in the second
20
            half of 2017, subject to certain closing conditions, including receipt of certain consents
21          relating to TIO's money transmitter licenses.

22          25.     The Q1 2017 10-Q contained signed certifications pursuant to the Sarbanes-Oxley Act of
23
     2002 (“SOX”) by Defendants Schulman and Rainey, stating that “[t]he information contained in [the
24
     Q1 2017 10-Q] fairly presents, in all material respects, the financial condition and results of operations
25
     of PayPal Holdings, Inc.”
26
27          26.     On July 18, 2017, PayPal announced the completion of the TIO Acquisition. In a press

28   release entitled “PayPal Completes Acquisition of TIO Networks,” PayPal stated, in part:
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            SAN JOSE, Calif. and VANCOUVER, B.C. – July 18, 2017 – PayPal Holdings, Inc.
 1          (NASDAQ: PYPL) and TIO Networks Corp. (TSXV: TNC) today announced that PayPal
 2          has completed its previously announced acquisition of TIO Networks. In accordance with
            the terms of the Arrangement announced on February 14, 2017, PayPal acquired all of the
 3          outstanding shares of TIO for $3.35 CDN ($2.64 USD) per share in cash or an
            approximate $302 million CDN ($238 million USD) equity value.
 4
 5                                                       ***

 6          TIO is a leading multi-channel bill payment processor in North America and processed
            more than $7 billion USD in consumer bill payments in fiscal 2016. TIO serves 16
 7          million consumer bill pay accounts and offers convenient solutions for expedited bill
 8          payment services to financially underserved consumers. The company has more than
            10,000 supported billers and numerous direct relationships with billers, which enable TIO
 9          to quickly process telecom, wireless, cable and utility bill payments for TIO’s customers.
10          As complementary organizations, PayPal and TIO are well-positioned to make paying a
11          bill as fast and simple as making a payment with PayPal. Through this acquisition,
            PayPal will expand its global scale of operations, complement its product portfolio, and
12          accelerate its entry into the bill pay market, enabling millions of customers to improve
            their financial health through access to TIO’s valuable services. The acquisition enables
13          PayPal and TIO to realize the companies’ shared vision of reimagining money and
            democratizing financial services so that everyone has affordable ways to manage and
14
            move their money.
15
           “In the last two years, PayPal has made significant strides towards realizing our mission
16         to democratize financial services and provide secure, convenient and affordable ways to
           move and manage money to those who are underserved by the financial system,” said
17
           Dan Schulman, President & CEO of PayPal. “Expanding into multi-channel bill
18         payments through the acquisition of TIO furthers this mission and will
           meaningfully advance our ability to offer digital financial services to tens of millions of
19         underserved customers.”
     (Emphases added.)
20
21          27.     On July 26, 2017, PayPal issued a press release and filed a current report on Form 8-K

22   with the SEC, announcing certain of the Company’s financial and operating results for the quarter
23
     ended June 30, 2017 (the “Q2 2017 8-K”). For the quarter, PayPal announced net income of $411
24
     million, or $0.34 per diluted share, on revenue of $3.14 billion, compared to net income of $323
25
     million, or $0.27 per diluted share, on revenue of $2.65 billion for the same period in the prior year.
26
27          28.     In the Q2 2017 8-K, PayPal stated, in part:

28          Expanding Value Proposition with Product Innovation
29                                                7

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                                                         ***
 1
 2          On July 18, 2017, PayPal announced the closing of the acquisition of TIO Networks for
            approximately $238 million. TIO is a leading cloud-based, multi-channel bill payment
 3          processor, serving leading telecom, wireless, cable, and utility bill issuers in North
            America. Through this acquisition, PayPal intends to expand its scale of operations,
 4          complement its product portfolio, and accelerate its entry into the bill pay market,
 5          enabling millions of customers to improve their financial health through access to TIO's
            valuable services.
 6
            29.     On July 27, 2017, PayPal filed a quarterly report on Form 10-Q with the SEC, reporting
 7
 8   in full the Company’s financial and operating results for the quarter ended June 30, 2017 (the “Q2 2017

 9   10-Q”).
10          30.     In the Q2 2017 10-Q, PayPal stated, in part:
11
            In July 2017, we completed our acquisition of TIO Networks Corp. for approximately
12          $238 million, consisting of cash. This acquisition will be accounted for as a business
            combination. We acquired TIO Networks to expand our scale of operations, complement
13          our product portfolio, and to help accelerate our entry into bill payments.
14
            31.     The Q2 2017-10-Q contained signed certifications pursuant to SOX by Defendants
15
     Schulman and Rainey, stating that “[t]he information contained in [the Q2 2017 10-Q] fairly presents,
16
     in all material respects, the financial condition and results of operations of PayPal Holdings, Inc.”
17
18          32.     On or around July 27, 2017, Defendants Schulman and Shahbazi broadcast a video via

19   the Facebook Live video streaming service, in which Schulman and Shahbazi discussed the benefits of
20
     the TIO Acquisition, stating, in part:
21
            Shahbazi: The opportunity with PayPal for us represented a really good opportunity to
22          amplify what we do today, for really about 60 million consumer accounts, and take that
            and serve PayPal’s broader universe and grow that together, and create behavioral
23
            richness in terms of how we bring these applications together, and marry them up with
24          some of the applications you guys [PayPal] have created. But when you look at the
            marriage of these assets, we feel like, as we were talking about earlier, brothers from
25          another mother, a little bit.
26          Schulman: Exactly. [laughing]
27
                                                         ***
28
29                                                8

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            Shahbazi: I know from a product development perspective, we have real opportunities to
 1          innovate in this space and do special things.
 2
            Schulman: We’re all really looking forward to that.
 3
            33.     On October 19, 2017, PayPal issued a press release and filed a current report on Form
 4
 5   8-K with the SEC, announcing certain of the Company’s financial and operating results for the quarter

 6   ended September 30, 2017 (the “Q3 2017 8-K”). For the quarter, PayPal announced net income of
 7   $380 million, or $0.31 per diluted share, on revenue of $3.24 billion, compared to net income of $323
 8
     million, or $0.27 per diluted share, on revenue of $2.67 billion for the same period in the prior year.
 9
            34.     In the Q3 2017 8-K, PayPal stated, in part:
10
11          PayPal’s Expanding Value Proposition

12                                                       ***

13          In the third quarter, PayPal closed the acquisition of Swift Financial, a leading provider
            of working capital solutions to small businesses in the U.S. The previously announced
14
            acquisition of TIO Networks also closed during the quarter.
15
            35.     On October 24, 2017, PayPal filed a quarterly report on Form 10-Q with the SEC,
16
     reporting in full the Company’s financial and operating results for the quarter ended September 30,
17
18   2017 (the “Q3 2017 10-Q”).

19          36.     In the Q3 2017 10-Q, PayPal stated, in part:
20
            TIO Networks Corp.
21
            We completed the acquisition of TIO Networks Corp. (“TIO”) in July 2017 by acquiring
22          all of the outstanding shares of TIO for $2.64 USD per share in cash. We acquired TIO to
            expand our scale of operations, complement our product portfolio, and to help accelerate
23
            our entry into bill payments. The total purchase price of $238 million consisted of cash
24          consideration. The allocation of purchase consideration resulted in approximately $66
            million of technology and customer-related intangible assets with an estimated useful life
25          of 1 to 5 years, net assets of approximately $15 million and initial goodwill of
            approximately $157 million, which is attributable to the workforce of TIO and the
26          synergies expected to arise from the acquisition.
27
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            37.     The Q3 2017 10-Q contained signed certifications pursuant to SOX by Defendants
 1
 2   Schulman and Rainey, stating that “[t]he information contained in [the Q3 2017 10-Q] fairly presents,

 3   in all material respects, the financial condition and results of operations of PayPal Holdings, Inc.”
 4          38.     The statements referenced in ¶¶ 20-37 above were materially false and/or misleading
 5
     because they misrepresented and/or failed to disclose the following adverse facts pertaining to the
 6
     Company’s business, operational and financial results, which were known to Defendants or recklessly
 7
 8   disregarded by them. Specifically, Defendants made false and/or misleading statements and/or failed to

 9   disclose that: (i) TIO’s data security program was inadequate to safeguard the personally identifiable
10   information of its users; (ii) the foregoing vulnerabilities threatened continued operation of TIO’s
11
     platform; (iii) PayPal’s revenues derived from its TIO services were thus unsustainable; (iv)
12
     consequently, PayPal had overstated the benefits of the TIO acquisition; and (v) as a result, PayPal’s
13
     public statements were materially false and misleading at all relevant times.
14
15                                         The Truth Begins to Emerge

16          39.     On November 10, 2017, PayPal issued a press release, entitled “TIO Networks Suspends
17
     Operations to Protect Customers.” The press release stated, in part:
18
            SAN JOSE, Calif.—(BUSINESS WIRE)--PayPal Holdings, Inc. (Nasdaq: PYPL)
19          announced that TIO Networks (TIO), a publicly traded company PayPal acquired in July
            2017, has suspended operations to protect TIO’s customers. This suspension of services
20
            is a result of PayPal’s discovery of security vulnerabilities on the TIO platform and
21          issues with TIO's data security program that do not adhere to PayPal's information
            security standards. TIO is not integrated into PayPal’s platform. The PayPal platform is
22          not impacted by this situation in any way and PayPal’s customers’ data remains secure.
23
            Upon the recent discovery of this vulnerability on the TIO platform, PayPal took action
24          by initiating an internal investigation of TIO and bringing in additional third-party
            cybersecurity expertise to review TIO’s bill payment platform. A focus of the
25          investigation will also include TIO’s practices and representations prior to the
            acquisition.
26
27          While we apologize for any inconvenience this suspension of services may cause, the
            security of TIO’s systems and the protection of TIO’s customers are our highest
28          priorities. We are working with the appropriate authorities to safeguard TIO customers.
29                                                10

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     (Emphasis added.)
 1
 2          40.     On December 1, 2017, post-market, PayPal issued a press release entitled “TIO

 3   Networks Provides Update on Suspension of Operations.” The press release stated, in part:
 4          AN JOSE, Calif.—(BUSINESS WIRE)--PayPal Holdings, Inc. (Nasdaq: PYPL) today
 5          announced an update on the suspension of operations of TIO Networks (TIO), a publicly
            traded payment processor PayPal acquired in July 2017. A review of TIO’s network has
 6          identified a potential compromise of personally identifiable information for
            approximately 1.6 million customers. The PayPal platform is not impacted in any way,
 7          as the TIO systems are completely separate from the PayPal network, and PayPal’s
 8          customers’ data remains secure.

 9          As announced on November 10, PayPal suspended the operations of TIO to protect
            customer data as part of an ongoing investigation of security vulnerabilities of the TIO
10          platform. This ongoing investigation has identified evidence of unauthorized access to
11          TIO’s network, including locations that stored personal information of some of TIO’s
            customers and customers of TIO billers. As a result, PayPal is taking steps to protect
12          affected customers.

13         TIO has also begun working with the companies it services to notify potentially affected
14         individuals, and PayPal is working with a consumer credit reporting agency to provide
           free credit monitoring memberships. Individuals who are affected will be contacted
15         directly and receive instructions to sign up for monitoring.
     (Emphases added.)
16
            41.     On this news, PayPal’s share price fell $4.33, or 5.75%, to close at $70.97 on December
17
18   4, 2017, the following trading day.

19          42.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline in
20
     the market value of the Company’s common shares, Plaintiff and other Class members have suffered
21
     significant losses and damages.
22
                              PLAINTIFF’S CLASS ACTION ALLEGATIONS
23
24          43.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil Procedure

25   23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise acquired
26
     PayPal common shares traded on the NASDAQ during the Class Period (the “Class”); and were
27
     damaged upon the revelation of the alleged corrective disclosures. Excluded from the Class are
28
29                                              11

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     Defendants herein, the officers and directors of the Company, at all relevant times, members of their
 1
 2   immediate families and their legal representatives, heirs, successors or assigns and any entity in which

 3   Defendants have or had a controlling interest.
 4          44.     The members of the Class are so numerous that joinder of all members is impracticable.
 5
     Throughout the Class Period, PayPal common shares were actively traded on the NASDAQ. While the
 6
     exact number of Class members is unknown to Plaintiff at this time and can be ascertained only through
 7
 8   appropriate discovery, Plaintiff believes that there are hundreds or thousands of members in the

 9   proposed Class. Record owners and other members of the Class may be identified from records
10   maintained by PayPal or its transfer agent and may be notified of the pendency of this action by mail,
11
     using the form of notice similar to that customarily used in securities class actions.
12
            45.     Plaintiff’s claims are typical of the claims of the members of the Class as all members of
13
     the Class are similarly affected by Defendants’ wrongful conduct in violation of federal law that is
14
15   complained of herein.

16          46.     Plaintiff will fairly and adequately protect the interests of the members of the Class and
17
     has retained counsel competent and experienced in class and securities litigation. Plaintiff has no
18
     interests antagonistic to or in conflict with those of the Class.
19
            47.     Common questions of law and fact exist as to all members of the Class and predominate
20
21   over any questions solely affecting individual members of the Class. Among the questions of law and

22   fact common to the Class are:
23
                            whether the federal securities laws were violated by Defendants’ acts as alleged
24                           herein;

25                          whether statements made by Defendants to the investing public during the Class
                             Period misrepresented material facts about the financial condition, business,
26
                             operations, and management of PayPal;
27
28
29                                                 12

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                           whether Defendants caused PayPal to issue false and misleading financial
 1                          statements during the Class Period;
 2
                           whether Defendants acted knowingly or recklessly in issuing false and
 3                          misleading financial statements;
 4
                           whether the prices of PayPal securities during the Class Period were artificially
 5                          inflated because of Defendants’ conduct complained of herein; and

 6                         whether the members of the Class have sustained damages and, if so, what is the
                            proper measure of damages.
 7
 8          48.     A class action is superior to all other available methods for the fair and efficient

 9   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
10
     damages suffered by individual Class members may be relatively small, the expense and burden of
11
     individual litigation make it impossible for members of the Class to individually redress the wrongs
12
     done to them. There will be no difficulty in the management of this action as a class action.
13
14          49.     Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-on-

15   the-market doctrine in that:
16
                           Defendants made public misrepresentations or failed to disclose material facts
17                          during the Class Period;

18                         the omissions and misrepresentations were material;
19
                           PayPal common shares are traded in efficient markets;
20
                           the Company’s shares were liquid and traded with moderate to heavy volume
21                          during the Class Period;
22
                           the Company traded on the NASDAQ, and was covered by multiple analysts;
23
                           the misrepresentations and omissions alleged would tend to induce a reasonable
24                          investor to misjudge the value of the Company’s common shares; and
25
                           Plaintiff and members of the Class purchased and/or sold PayPal common shares
26                          between the time the Defendants failed to disclose or misrepresented material
                            facts and the time the true facts were disclosed, without knowledge of the
27                          omitted or misrepresented facts.
28
29                                               13

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             50.     Based upon the foregoing, Plaintiff and the members of the Class are entitled to a
 1
 2   presumption of reliance upon the integrity of the market.

 3           51.     Alternatively, Plaintiff and the members of the Class are entitled to the presumption of
 4   reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v. United
 5
     States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in their Class
 6
     Period statements in violation of a duty to disclose such information, as detailed above.
 7
 8                                                    COUNT I

 9                       Violation of Section 10(b) of The Exchange Act and Rule 10b-5
                                             Against All Defendants
10
11           52.     Plaintiff repeats and realleges each and every allegation contained above as if fully set

12   forth herein.

13           53.     This Count is asserted against PayPal and the Individual Defendants and is based upon
14
     Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the
15
     SEC.
16
             54.     During the Class Period, PayPal and the Individual Defendants, individually and in
17
18   concert, directly or indirectly, disseminated or approved the false statements specified above, which

19   they knew or deliberately disregarded were misleading in that they contained misrepresentations and
20
     failed to disclose material facts necessary in order to make the statements made, in light of the
21
     circumstances under which they were made, not misleading.
22
             55.     PayPal and the Individual Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in
23
24   that they:

25                         employed devices, schemes and artifices to defraud;
                           made untrue statements of material facts or omitted to state material facts
26
                            necessary in order to make the statements made, in light of the circumstances
27                          under which they were made, not misleading; or

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                           engaged in acts, practices and a course of business that operated as a fraud or
 1                          deceit upon plaintiff and others similarly situated in connection with their
 2                          purchases of PayPal common shares during the Class Period.

 3            56.   PayPal and the Individual Defendants acted with scienter in that they knew that the
 4   public documents and statements issued or disseminated in the name of PayPal were materially false
 5
     and misleading; knew that such statements or documents would be issued or disseminated to the
 6
     investing public; and knowingly and substantially participated, or acquiesced in the issuance or
 7
 8   dissemination of such statements or documents as primary violations of the securities laws. These

 9   Defendants by virtue of their receipt of information reflecting the true facts of PayPal, their control
10   over, and/or receipt and/or modification of PayPal allegedly materially misleading statements, and/or
11
     their associations with the Company which made them privy to confidential proprietary information
12
     concerning PayPal, participated in the fraudulent scheme alleged herein.
13
14            57.   Individual Defendants, who are the senior officers and/or directors of the Company, had

15   actual knowledge of the material omissions and/or the falsity of the material statements set forth above,
16   and intended to deceive Plaintiff and the other members of the Class, or, in the alternative, acted with
17
     reckless disregard for the truth when they failed to ascertain and disclose the true facts in the statements
18
     made by them or other PayPal personnel to members of the investing public, including Plaintiff and the
19
     Class.
20
21            58.   As a result of the foregoing, the market price of PayPal common shares was artificially

22   inflated during the Class Period. In ignorance of the falsity of PayPal’s and the Individual Defendants’
23
     statements, Plaintiff and the other members of the Class relied on the statements described above and/or
24
     the integrity of the market price of PayPal common shares during the Class Period in purchasing PayPal
25
     common shares at prices that were artificially inflated as a result of PayPal’s and the Individual
26
27   Defendants’ false and misleading statements.

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29                                                15

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             59.     Had Plaintiff and the other members of the Class been aware that the market price of
 1
 2   PayPal common shares had been artificially and falsely inflated by PayPal’s and the Individual

 3   Defendants’ misleading statements and by the material adverse information which PayPal’s and the
 4   Individual Defendants did not disclose, they would not have purchased PayPal’s common shares at the
 5
     artificially inflated prices that they did, or at all.
 6
             60.     As a result of the wrongful conduct alleged herein, Plaintiff and other members of the
 7
 8   Class have suffered damages in an amount to be established at trial.

 9           61.     By reason of the foregoing, PayPal and the Individual Defendants have violated Section
10   10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to the plaintiff and the
11
     other members of the Class for substantial damages which they suffered in connection with their
12
     purchase of PayPal common shares during the Class Period.
13
14                                                         COUNT II

15                                 Violation of Section 20(a) of The Exchange Act
                                         Against The Individual Defendants
16
             62.     Plaintiff repeats and realleges each and every allegation contained in the foregoing
17
18   paragraphs as if fully set forth herein.

19           63.     During the Class Period, the Individual Defendants participated in the operation and
20
     management of PayPal, and conducted and participated, directly and indirectly, in the conduct of
21
     PayPal’s business affairs. Because of their senior positions, they knew the adverse non-public
22
     information regarding the Company’s inadequate internal safeguards in data security protocols.
23
24           64.     As officers and/or directors of a publicly owned company, the Individual Defendants had

25   a duty to disseminate accurate and truthful information with respect to PayPal’s financial condition and
26   results of operations, and to correct promptly any public statements issued by PayPal which had
27
     become materially false or misleading.
28
29                                                    16

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            65.     Because of their positions of control and authority as senior officers, the Individual
 1
 2   Defendants were able to, and did, control the contents of the various reports, press releases and public

 3   filings which PayPal disseminated in the marketplace during the Class Period. Throughout the Class
 4   Period, the Individual Defendants exercised their power and authority to cause PayPal to engage in the
 5
     wrongful acts complained of herein. The Individual Defendants therefore, were “controlling persons” of
 6
     PayPal within the meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in
 7
 8   the unlawful conduct alleged which artificially inflated the market price of PayPal common shares.

 9          66.     By reason of the above conduct, the Individual Defendants are liable pursuant to Section
10   20(a) of the Exchange Act for the violations committed by PayPal.
11
                                             PRAYER FOR RELIEF
12
            WHEREFORE, Plaintiff demands judgment against Defendants as follows:
13
            A.      Determining that the instant action may be maintained as a class action under Rule 23 of
14
15   the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

16          B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason of
17
     the acts and transactions alleged herein;
18
            C.      Awarding Plaintiff and the other members of the Class prejudgment and post- judgment
19
     interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and
20
21          D.      Awarding such other and further relief as this Court may deem just and proper.

22                                      DEMAND FOR TRIAL BY JURY
23
            Plaintiff hereby demands a trial by jury.
24
     Dated: December 6, 2017
25                                                          Respectfully submitted,
26                                                          POMERANTZ LLP
27
                                                            By: /s/ Jennifer Pafiti
28                                                          Jennifer Pafiti (SBN 282790)

29                                                17

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  Submission Date
  2017-12-05 12:09:00



   CERTIFICATION PURSUANT TO FEDERAL
   SECURITIES LAWS

  1.    I make this declaration pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”) and/or
  Section 21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”) as amended by the Private Securities
  Litigation Reform Act of 1995.

  2. I have reviewed a Complaint against against a Complaint against PayPal Holding, Inc. (“PayPal” or the
  “Company”), as well as media and analyst reports about the Company. Plaintiff believes and authorizes the filing of a
  comparable complaint on my behalf.

  3. I did not purchase or acquire PayPal securities at the direction of plaintiffs’ counsel or in order to participate in
  any private action arising under the Securities Act or Exchange Act.

  4.   I am willing to serve as a representative party on behalf of a Class of investors who purchased or acquired
  PayPal securities during the class period, including providing testimony at deposition and trial, if necessary. I
  understand that the Court has the authority to select the most adequate lead plaintiff in this action.

  5. To the best of my current knowledge, the attached sheet lists all of my transactions in PayPal securities during the
  Class Period as specified in the Complaint.

  6. During the three-year period preceding the date on which this Certification is signed, I have not sought to serve
  as a representative party on behalf of a class under the federal securities laws.

  7.    I agree not to accept any payment for serving as a representative party on behalf of the class as set forth in the
  Complaint, beyond my pro rata share of any recovery, except such reasonable costs and expenses directly relating to
  the representation of the class as ordered or approved by the Court.

  8.    I declare under penalty of perjury that the foregoing is true and correct.




  Name

  Print Name
  RONALD SGARLATA



  Acquisitions

  Configurable list (if none enter none)

        Date Acquired                      Number of Shares Acquired                    Price per Share Acquired
             11/1/2017                                  6                                           72.2




  Sales

  Configurable list (if none enter none)

            Date Sold                      Number of Shares Sold                          Price per Share Sold

https://www.jotform.com/submissions/73378085487168
 12/5/2017                                       JotForm · Submissions:
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             12/4/2017                           6                                      71.735




   Documents & Message

   Upload your brokerage statements showing your individual purchase and sale orders.
  (redacted)




   Signature




   Full Name
   RONALD SGARLATA
(redacted)
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PAYPAL HOLDINGS, INC. (PYPL)                                         Sgarlata, Ronald

                               LIST OF PURCHASES AND SALES

                      PURCHASE               NUMBER OF            PRICE PER
      DATE             OR SALE              SHARES/UNITS         SHARES/UNITS

         11/1/2017              Purchase                     6              $72.2000
